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                                             INTERNAL




 To whom it may Concern


 Date: 8/2/2021
 Name: Daveen Skeen


 I have known Leonard Luton for about 3 years now. I met him at my godson’s apartment where
 he was playing music in his car and my godsons’ father was there listening to the music. I
 immediately found out that he was a DJ and that he plays in Manhattan clubs sometimes. I was
 a party goer, so I found it to be interesting that he is a DJ because I love music as well. I got
 introduced to him and he seem cool and would show me his playlist and tell me about some of
 the venues that he plays music.
 As I got to know him more, we would speak on the phone mostly text because he would rather
 see me than sit on the phone. He was very friendly and helpful with everything. He had a crush
 on me but didn’t tell me lol. He is always helping someone; he is the most selfless person I
 know, and he puts others before himself all the time. He is very close with his kids and his
 daughter is everything to him besides his mother. He Loves his mother very much and I know
 being away and not being able to help her and be there while she is sick is very hard for him. He
 is hard working and has many different trades that he does. He fixes cars, fixes phones, he
 works on bikes, and he does plumbing.
 I know him as the good guy that plays music and don’t know him as anything else. This has
 taken so much of his time away for nothing. He lives a regular life and struggles just like
 everyone else I know. This is just a shame the way he is being treated; all his rights taken away
 because he is a big black man. We all know that there is no justice for the black man. This is why
 they shoot to kill blacks but will never shoot the white man.


 I really hope he gets out soon to spend time with his mother.




 Regards,
 Daveen Skeen
